OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                         UNITED STATES DISTRICT COURT
                                                                          for the
                                                           Western District of North Carolina

                     United States of America                                 )
                                v.                                            )
                                                                              )   Case No: 3:00CR00221-001
             CHRISTOPHER EDW ARD W INGATE
                                                                              )   USM No: 16429-058
Date of Previous Judgment: 06-15-2001                                         )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                             )   Defendant’s Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                                                                                                                          73 months in Count One
                                                                 90 months in Count One, plus                             plus 30 months consecutive
                                  the last judgment issued) of   30 months consecutive in
                                                                                                 months is reduced to
                                                                                                                          in Count 4-total of 103
                                                                 Count 4-total of 120 months                              months                       .

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                   31                                      Amended Offense Level:                29
Criminal History Category:                IV                                      Criminal History Category:            IV
Previous Guideline Range:                 151        to 188 months                Amended Guideline Range:              121       to 151      months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
Except as provided above, all provisions of the judgment dated 06-15-2001                                  shall remain in effect.
IT IS SO ORDERED.

Order Date:          June 20, 2008


Effective Date:
                          (if different from order date)




                      Case 3:00-cr-00221-MR                      Document 76              Filed 06/20/08          Page 1 of 1
